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                                UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON



UNITED STATES OF AMERICA                                            Case No.: 3:22−cr−00081−MO
   Plaintiff,

v.                                                                  BRADY DISCLOSURE ORDER

DENNIS DOYLE
   Defendant.


     Under federal law, including Rule 5(f) of the Federal Rules of Criminal Procedure, Brady v.
Maryland, 373 U.S. 83 (1963), and all applicable decisions from the Supreme Court and the Ninth
Circuit interpreting Brady, the government has a continuing obligation to produce all information or
evidence known to the government relating to guilt or punishment that might reasonably be considered
favorable to the defendant's case, even if the evidence is not admissible so long as it is reasonably likely
to lead to admissible evidence. See United States v. Price, 566 F.3d 900,913 n.14 (9th Cir. 2009).
Accordingly, the court orders the government to produce to the defendant in a timely manner all such
information or evidence.

    Information or evidence may be favorable to a defendant's case if it either may help bolster the
defendant's case or impeach a prosecutor's witness or other government evidence. If doubt exists, it
should be resolved in favor of the defendant with full disclosure being made.

     If the government believes that a required disclosure would compromise witness safety, victim
rights, national security, a sensitive law−enforcement technique, or any other substantial government
interest, the government may apply to the Court for a modification of the requirements of this Disclosure
Order, which may include in camera review and/or withholding or subjecting to a protective order all or
part of the information.

     This Disclosure Order is entered under Rule 5(f) and does not relieve any party in this matter of any
other discovery obligation. The consequences for violating either this Disclosure Order or the
government's obligations under Brady include, but are not limited to, the following: contempt, sanction,
referral to a disciplinary authority, adverse jury instruction, exclusion of evidence, and dismissal of
charges. Nothing in this Disclosure Order enlarges or diminishes the government's bligation to disclose
information and evidence to a defendant under Brady, as interpreted and applied under Supreme Court
and Ninth Circuit precedent. As the Supreme Court noted, "the government violates the Constitution's
Due Process Clause 'if it withholds evidence that is favorable to the defense and material to the
defendant's guilt or punishment."' Turner v. United States, 137 S. Ct. 1885, 1888 (2017), quoting Smith
v. Cain, 565 U.S. 73, 75 (2012).


     DATED this 4th day of March, 2022                   /s/Jolie A. Russo

                                                         Honorable Jolie A. Russo
                                                         United States Magistrate Judge.
